Case 2:22-cv-04490-JMA-AYS Document 16 Filed 09/23/22 Page 1 of 16 PageID #: 366




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF NEW YORK

  ROBERT SAMPSON,                                      :
                                                       :
                      Plaintiff                        :
                                                       :   CIVIL ACTION NO. 22-cv-04490 JMA
                         v.                            :
                                                       :
  STONY BROOK UNIVERSITY, et al.                       :
                                                       :
                    Defendants.                        :

                        REPLY BRIEF IN SUPPORT OF PLAINTIFF’S
                        MOTION FOR PRELIMINARY INJUNCTION

 I.     INTRODUCTION

        Stony Brook does not contest that Sampson is an individual with a disability or that he

 needs extended time on the Step 1 examination. Under well-established Second Circuit

 precedent, it was therefore Stony Brook’s burden to come forward with evidence that permitting

 Sampson the accommodations that he needs to take the Step 1 examination is an undue burden or

 a fundamental alteration. Stony Brook has instead offered only speculation that permitting

 Sampson more than seven years to graduate from medical school would somehow harm patient

 safety. Stony Brook’s claim is absurd when its own policies permit dual-degree students such as

 Sampson additional time to graduate. Further, Stony Brook’s own faculty members praised

 Sampson’s knowledge of medicine, his clinical skills, and most of all, the conscientiousness and

 diligence with which he has treated patients during his clinical rotations. It is in the public

 interest that an individual like Sampson, who has worked hard to overcome his disabilities, be

 given the opportunity to take Step 1 with the accommodations that Stony Brook says he needs.




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Case 2:22-cv-04490-JMA-AYS Document 16 Filed 09/23/22 Page 2 of 16 PageID #: 367




    A. Stony Brook Failed To Meaningfully Contest Sampson’s Request for
       Accommodations

        Stony Brook does not contest that Sampson needs the testing accommodations that he

 seeks from the NBME. Stony Brook itself provides those accommodations to Sampson on

 medical school examinations, and submitted letters to National Board of Medical Examiners

 (NBME) stating that Sampson’s need for these testing accommodations is critical.

        Stony Brook advances conclusory arguments that Sampson’s requested

 accommodation—an opportunity to take the NBME examination with accommodations—is not

 reasonable. In so doing, Stony Brook errs as a matter of law first by impermissibly shifting to

 Sampson the burden of proving the reasonableness of this accommodation and second by

 erroneously relying on the wrong part of the ADA. Stony Brook cites 42 U.S.C. § 12112, the

 portion of the ADA that applies to employment. This provision has no applicability in this case.

 Likewise, the case law interpreting “reasonable accommodations” in employment cases has no

 applicability to this non-employment case. See, e.g., Enyart v. Nat’l Conf. of Bar Examiners,

 630 F.3d 1153, 1162 (9th Cir. 2011). Whereas the “reasonable accommodation” standard found

 in the employment context requires employees to prove that the requested accommodation is

 reasonable, a different set of burdens applies in the non-employment context. See id.1 As the

 Second Circuit explained, in the higher education context, a student has a “light burden” of

 proving the accommodations requested are necessary, and then the burden shifts to the university



        1
           Although the term “reasonable accommodation” is of popular usage, and has sometimes
 found its way into cases involving postsecondary institutions, “reasonable accommodation” as a
 legal standard is confined to employment cases. Even in higher education cases where the term
 “reasonable accommodation” is used, courts correctly note that universities must provide
 necessary accommodations short of undue burden or fundamental alteration. See, e.g.,
 Featherstone v. Pacific Northwest Univ., No. 1:CV-14-3084-SMJ, 2014 U.S. Dist. LEXIS
 102713, at *9 (E.D. Wash. July 22, 2014).


                                                 2
Case 2:22-cv-04490-JMA-AYS Document 16 Filed 09/23/22 Page 3 of 16 PageID #: 368




 to demonstrate that it would be an undue burden or fundamental alteration to provide these

 accommodations. Dean v. Univ. at Buffalo Sch. of Med. & Biomedical Scis., 804 F.3d 178, 190

 (2d Cir. 2015).

         Since there is no dispute that Sampson has met his burden of demonstrating he needs the

 accommodation he seeks, the burden falls on Stony Brook to come forward with evidence that

 providing these accommodations would result in undue burden or fundamental alteration. Dean,

 804 F.3d at 190. Stony Brook offered no argument or evidence that permitting Sampson

 additional time to graduate in order to take Step 1 would somehow result in undue burden, and

 accordingly has waived this defense.

         Stony Brook refers to “fundamental alteration” throughout its brief, but offered no

 evidence that permitting Sampson to receive the accommodations that he needs would

 fundamentally alter the medical school’s curriculum. Stony Brook may not rest on its seven-year

 policy (which does not even apply in this case) as proof that any modification would be

 unreasonable. As described in Sampson’s opening brief in support of his motion for preliminary

 injunction against Stony Brook, Department of Education section 504 regulations specifically

 provide that universities may be required to make “changes in the length of time permitted for

 the completion of degree requirements” to accommodate students with disabilities. 34 C.F.R.

 § 104.44(a); Wong v. Regents of the Univ. of Cal., 192 F.3d 807, 820 (9th Cir. 1999) (quoting 34

 C.F.R. § 104.44(a)). Even though this regulation is clearly on point, Stony Brook paid no

 attention to this regulation in its brief.




                                                 3
Case 2:22-cv-04490-JMA-AYS Document 16 Filed 09/23/22 Page 4 of 16 PageID #: 369




        Stony Brook also did not dispute that it permitted Sampson to return to medical school in

 2020 even though it knew by then that Sampson could not finish medical school in seven years.2

 Stony Brook also did not dispute that it permits dual-degree students more than seven years to

 complete a medical degree; while Stony Brook contests whether Sampson is in fact a dual-degree

 student, the fact that the medical school does permit such students more than seven years is a

 strong indication that Stony Brook’s curriculum will neither be altered nor will the academic

 standards be reduced if Sampson is able to take the NBME examination with the

 accommodations that Stony Brook itself has said he needs. See, e.g., Wong, 192 F.3d at 820-21

 (holding that a university’s history of providing the same accommodation in the past is

 “persuasive evidence from which a jury could conclude the accommodation was reasonable”).

        Further, Stony Brook has offered no concrete evidence beyond speculation that allowing

 additional time for Sampson to take the USMLE Step 1 and fulfill his graduation requirements

 fundamentally alters the essential functions of the school curriculum or lowers the school’s

 academic standards. See, e.g., Doe v. Samuel Merritt Univ., 921 F. Supp. 2d 958, 971-72 (N.D.

 Cal. 2013) (holding that permitting a student to maintain inactive enrolled status in order to take



 2
   The June 2020 letter dismissing Sampson from medical school stated “…it is no longer
 possible for you to complete medical school in 7 years.” Dckt. 14-9 (Defendants’ Ex. 9)
 (emphasis added). The former dean of the medical school then revoked that decision which was
 both based on an erroneous calculation and discriminatory and permitted Sampson to proceed
 with his medical education and take his tuition dollars despite the fact it was not possible to
 complete medical school in 7 years. Dckt. 14-10 (Defendants’ Ex. 10), Letter from Dean
 Kaushansky dated July 13, 2020. Although mention was made of the 7 years, it was reasonable
 for Sampson to presume the Dean’s revocation of the CAPP Committee decision granting him
 permission to continue with his medical degree meant that the time he was wrongfully on forced
 leave of absence was not being counted against him. Ex. 1, Sampson Decl. ¶¶ 19-20. Stony
 Brook thereafter made contradictory statements about graduation dates, prompting Sampson
 repeatedly to seek clarification. At times Dr. Cohen indicated that Sampson was graduating in
 December 2022, more than 7 years after he started medical school. Ex. 1, Sampson Decl. at ¶¶
 21-22. The medical school registrar was aware of this confusion when she certified his
 graduation date as May 2023. Id. at ¶ 23.
                                                  4
Case 2:22-cv-04490-JMA-AYS Document 16 Filed 09/23/22 Page 5 of 16 PageID #: 370




 board examination requires only “minimal participation” on the school’s part). As the case law

 has made clear, defendants may not use imagined threats of harm as a guise for discrimination,

 and to guard against this, defendants must come forward with objective medical evidence of any

 asserted harm, Bragdon v. Abbott, 524 U.S. 624, 649-50 (1998).

        Stony Brook cannot meet its burden of establishing that it is unreasonable for Sampson to

 have an opportunity to take the Step 1 examination with accommodations.

    B. Stony Brook May Not Use Academic Deference To Shield Its Discriminatory
       Conduct from Judicial Review

        Stony Brook asserts that it is entitled to academic deference in refusing to provide

 Sampson an opportunity to take the Step 1 with the testing accommodations that Stony Brook

 concedes he needs, but left out a key element of the Second Circuit’s standard. As the Second

 Circuit has explained:

        it was incumbent upon [the medical school] to submit a factual record establishing
        that in rejecting [the medical student’s] requested scheduling modification they
        diligently assessed whether the alteration would allow [the medical student] the
        opportunity to continue in the M.D. program without imposing undue financial
        and administrative burdens on [the medical school] or requiring a fundamental
        alteration to the academic caliber of its offerings. See Powell, 364 F.3d at 88.
        Where, as here, the record is devoid of evidence indicating whether [the medical
        school] evaluated these considerations in determining the reasonableness of the
        accommodation sought, we decline to extend the deference we ordinarily accord
        to the professional, academic judgments of educational institutions. See id.
        (noting that in evaluating “the substance of a genuinely academic decision, courts
        should accord the faculty’s professional judgment great deference” (citing
        Regents of Univ. of Mich. V. Ewing, 474 U.S. 214, 225, 106 S. Ct. 507, 88 L. Ed.
        2d 523 (1985)). To do otherwise might “allow academic decisions to disguise
        truly discriminatory requirements.” Zukle, 166 F.3d at 1048.

 Dean, 804 F.3d at 191.

        The academic deference cases that Stony Brook relies on all accorded academic

 deference only after first determining that the university in question had conducted the requisite

 diligent review. In Brief v. Albert Einstein College of Med., 423 F. App’x 88 (2d. Cir. 2011), the

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Case 2:22-cv-04490-JMA-AYS Document 16 Filed 09/23/22 Page 6 of 16 PageID #: 371




 medical school solicited testimony from the medical student and other witnesses and reviewed

 multiple reports detailing the extent of the student’s purported disability. Id. at 92. It was only

 after considering this evidence about the student’s disability that the medical school determined

 that allowing him to continue as a student despite numerous failures on medical school

 examinations would be contrary to its academic standards. Id. at 92. As this case demonstrates,

 universities must come forward with evidence showing that they carefully considered the

 student’s disability and the nature of the accommodations requested. See also Powell v. Nat’l

 Bd. of Med. Exam’rs, 364 F.3d 79, 88 (2d Cir. 2004) (according academic deference only after

 “diligent review” of the student’s accommodations request)3; Kaltenberger v. Ohio College of

 Podiatric Med., 162 F.3d 432, 436-37 (6th Cir. 1998) (placing great weight on the numerous

 accommodations that the university provided the student).

        Here, the record is completely devoid of any evidence that Stony Brook “diligently

 assessed” whether permitting Sampson the time he needs to take the NBME examination with

 accommodations would somehow result in undue burden or fundamental alteration. Rather, the

 evidence shows that the CAPP Committee was openly hostile to Sampson, telling him that it did

 not believe NBME would grant him the accommodations that he needed, stating that Sampson

 was not the only person in the world with disabilities and that he should learn how to take and

 pass the NBME examination without accommodations. Decl. of Sampson at ¶¶ 51-55 [Docket

 3-2]. Such hostility is facially discriminatory and is unworthy of deference. See Shaik v. Tex.




        3
           In Powell, the Second Circuit noted that the medical student had sought to be exempt
 from the requirement to pass Step 1 even though students without disabilities had to pass Step 1
 in order to continue on in medical school. Id. at 88. Sampson seeks no such exemption; rather,
 he seeks only the opportunity to demonstrate his knowledge on the Step 1 examination with the
 accommodations that Stony Brook has stated he needs.

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Case 2:22-cv-04490-JMA-AYS Document 16 Filed 09/23/22 Page 7 of 16 PageID #: 372




 A&M Univ. Coll. of Med., 739 F. App’x 215, 223 (5th Cir. 2018) (holding that a medical

 school’s disparaging statements about a student’s disability was evidence of discrimination).4

        Stony Brook’s subsequent inconsistent approach to Sampson is further evidence that it

 did not give Sampson’s disability and need for accommodations the diligent review required by

 Second Circuit precedent. Dean, 804 F.3d at 191. The medical school dean permitted Sampson

 to resume classes in 2020 even though by then Sampson could not finish medical school in 7

 years. Dckt. 14-9 (Defendants’ Ex. 9), Capp Meeting Results; Dckt. 14-10 (Defendants’ Ex. 10),

 Kaushansky Letter. The subsequent decision to reimpose the seven-year requirement came only

 after there was a new medical school dean; there is no evidence whatsoever in the record that the

 new dean considered Sampson’s disability, much less gave it diligent review.

        Instead, Stony Brook simply asserts in its brief that “Plaintiff is not going to receive his

 medical degree.” Stony Brook Br. [Dckt. No. 13] at 2, 21. This blunt statement is an indication

 that Stony Brook has already decided that it does not want Sampson as a student no matter how

 reasonable the accommodations are that he seeks, without regard for whether Sampson is able to

 obtain injunctive relief requiring NBME to provide the testing accommodations that Stony Brook

 has itself said that he needs. Such attitude towards Sampson is unworthy of deference.

        Stony Brook also ignored a plethora of additional evidence demonstrating that it failed to

 give Sampson’s disability and need for accommodations the requisite diligent review:




        4
          Stony Brook acknowledges the case law Sampson described in his opening brief [Dckt.
 No. 3] that makes clear that universities must make accommodations for students seeking to take
 board examinations, but improperly attempts to distinguish these cases on the ground that they
 involved “new” disabilities that were discovered after the medical student failed the Step 1 test
 without accommodations. Stony Brook’s Br. [Dckt. No. 13] at 19-20. This is a distinction
 without a difference, as Stony Brook has acknowledged that Sampson needs the testing
 accommodations, and mocked his efforts to obtain these accommodations on the Step 1 exam.
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Case 2:22-cv-04490-JMA-AYS Document 16 Filed 09/23/22 Page 8 of 16 PageID #: 373




    •   Stony Brook required Sampson to take the Step 1 examination after just three semesters,

        when none of his classmates were required to take the examination until after three years

        of medical school.

    •   Stony Brook has offered no explanation how Sampson was a “marginal” student during

        his first year of medical school when all classes were pass/fail and he passed all his

        classes. Stony Brook also failed to meaningfully contest the evidence that its

        determination that Sampson was a “marginal” student was based on simple arithmetic

        mistakes that it refused to correct.

    •   Stony Brook also required Sampson to take the Step 1 examination shortly after learning

        that Sampson had learning disabilities, calling into question whether it treated him

        differently based on his disability.

    •   Stony Brook does not acknowledge that the reason why Sampson is now up against the

        seven-year limit is because Stony Brook forced him to take a three-year leave of absence

        before changing its mind and letting him re-enroll to finish his second year of medical

        school and complete his third year of medical school with an excellent academic track

        record. These developments call into question whether Stony Brook acted arbitrarily and

        capriciously in telling Sampson he had to take Step 1 earlier than his classmates and

        causing him to lose more than three years.

 In addition to ignoring these large portions of the record, Stony Brook argues the following:

    •   Stony Brook asserted that Sampson is not a dual-degree student even though he is jointly

        enrolled in both the M.D. and M.B.A. programs as the result of the medical school

        submitting his medical school application to the College of Business. Before applying to

        be a joint degree student, Sampson consulted with Dr. Cohen in an email with the subject


                                                 8
Case 2:22-cv-04490-JMA-AYS Document 16 Filed 09/23/22 Page 9 of 16 PageID #: 374




        line “Combined Degree MD/MBA Question” and at Dr. Cohen’s request, the medical

        school submitted Sampson’s application materials for the joint degree. Ex. 1 ¶¶ 9 - 13 At

        no time did Dr. Cohen, or anyone else, inform Sampson of any additional step to become

        a joint degree student or any requirement that he take (another) leave of absence. Ex. 1,

        Sampson Decl. ¶ 15. Similarly, when Sampson mentioned in an email to Dr. Cohen that

        he had started his business school classes, Dr. Cohen raised no concern about Sampson

        needing to take a leave of absence. Ex. 1-C. Stony Brook, having blessed and facilitated

        Sampson’s admission to the business school as a medical student, and having taken

        Sampson’s tuition knowing that he was enrolled in both programs at the same time,

        cannot now claim that he never had permission to pursue joint degrees.5

    •   Stony Brook also erred factually in describing the ultimatum that it gave Sampson in

        2016. In December 2016, Stony Brook told Sampson in unequivocal terms that he

        needed to take the Step 1 examination three semesters before everyone else. Dckt. 14-3

        (Defendant’s Ex. 3) Stony Brook now claims alternately that he could have retaken just

        endocrinology, or that he only needed to retake all classes in which he had passed but

        was not in the top half of the class (with no evidence or explanation how this wasn’t

        treating Sampson differently from other students who passed all their classes even if not




        5
          Stony Brook, while arguing Sampson did not finish his medical degree fast enough
 inexplicably argues that Sampson should have taken additional leave to complete a joint degree
 program. Stony Brook’s own published materials state no such requirement and when Sampson
 approached Dr. Cohen to ask what was necessary for him to become a joint degree student, Dr.
 Cohen told him of no such requirement. Ex. 1, Decl. of Sampson at ¶¶ 4-8; Ex. 1-A, Email Chain
 between Dr. Cohen and Sampson dated April 29, 2021. Further, Sampson paid tuition, enrolled
 in courses and was permitted to take courses in both programs at the same time and earned
 straight As while doing so. The only leaves of absences Sampson has ever taken were those
 Stony Brook imposed on him related to Step 1 and the lack of accommodations for the Step 1
 examination, an issue at the heart of this lawsuit.
                                                 9
Case 2:22-cv-04490-JMA-AYS Document 16 Filed 09/23/22 Page 10 of 16 PageID #: 375




         always in the top half of the class). These new assertions are wholly unsupported by the

         record, and Stony Brook’s shifting facts further undermines its claim to academic

         deference.

     •   Stony Brook downplays its registrar’s certification that Sampson was scheduled to

         graduate in May 2023, outside the seven-year time period. When Stony Brook permitted

         Sampson to return to medical school in 2020, it already knew that he could not complete

         medical school in seven years. Dckt. 14-9 (Defendant’s Ex. 9). Multiple graduation dates

         were thereafter discussed and Sampson repeatedly sought clarification as to his

         graduation date. Ex. 1 ¶¶ 21-24. The registrar verbally expressed confusion about

         whether Sampson was graduating in December 2022 or May 2023. Ex 1 ¶ 23. Sampson

         and Dr. Cohen specifically discussed whether Sampson would graduate in December

         2022 or May 2023 both of which were after the expiration of 7 years in August of 2022.

         Ex. 1 ¶ 22. Thereafter, the medical school registrar certified that Sampson was graduating

         in May 2023, and this certification means what it says—that the registrar’s office had

         verified that this information was correct. Stony Brook’s claim this was an

         administrative error is not entitled to deference.

         Stony Brook also quotes Sampson as saying he understood that the medical school has a

  seven-year policy. This policy does not apply to Sampson because he is a dual-degree student.

  In any event, this case is not, however, about whether Stony Brook has a seven-year policy, but

  whether Stony Brook is required to make reasonable modifications to accommodate Sampson’s

  documented disabilities. As described supra, Stony Brook does not dispute that Sampson needs

  the accommodations that he is requesting, and Stony Brook has not made any meaningful effort

  to carry its burden of proving undue burden or fundamental alteration.


                                                   10
Case 2:22-cv-04490-JMA-AYS Document 16 Filed 09/23/22 Page 11 of 16 PageID #: 376




         Further even if the seven-year policy applied, Stony Brook has made no effort to explain

  how it considered the interplay between Sampson’s disability and the purpose of its seven-year

  policy or how allowing additional time for Sampson to take the USMLE Step 1 and fulfill his

  graduation requirements fundamentally alters the essential functions of the school curriculum or

  lowers the school’s academic standards. In particular, Stony Brook has offered no support for

  the proposition that permitting Sampson the opportunity to finally take the NBME examination

  with accommodations would “dilute” the medical school’s academic standards and somehow

  harm public health.6 Stony Brook’s arguments are belied by the fact that the medical school

  itself has numerous exceptions to its seven-year policy. Moreover, Stony Brook’s purported

  concerns do not apply in this case. Stony Brook’s own faculty members have praised Sampson

  as conscientious and diligent in his clinical rotations, noting Sampson wan an “excellent student”

  who is highly motivated and compassionate”, “looked for ways to help” and was “an asset to our

  inpatient team.” Ex. A, Sampson Decl. ¶ 61 [Doc. No. 3-2]. Of Sampson’s readiness to move

  into his fourth and final year of medical school, his preceptors reported that Sampson’s “medical

  knowledge and ability to assimilate this knowledge was impressive for his level of training” and

  “above expected for the level of training”. Id. It is in the public interest for Sampson to have the

  opportunity to demonstrate on Step 1 what Stony Brook’s faculty members already know—that

  Sampson is a gifted student who will make an excellent doctor if given the chance.

         Stony Brook’s shifting rationales, factual assertions raised years after the fact, and flimsy

  rationales for preventing Sampson from ever taking Step 1 with accommodations are unworthy



         6
            Stony Brook’s cited cases for this proposition all concerned students who failed classes
  or clinicals, a fact pattern not present here. Yousaf v. Curators of Univ. of Mo., No. 4:18-cv-
  00321-DGK, 2018 U.S. Dist. LEXIS 190187, at *2-3 (W.D. Mo. Nov. 7, 2018); White v.
  Creighton Univ., Case No. 06CV536, 2006 U.S. Dist. LEXIS 56500, at *2-3 (D. Neb. Aug. 11,
  2006).
                                                  11
Case 2:22-cv-04490-JMA-AYS Document 16 Filed 09/23/22 Page 12 of 16 PageID #: 377




  of deference. Stony Brook has not asserted undue burden, and it has offered no evidence in

  support of its assertion of fundamental alteration. For these reasons, he is substantially likely to

  prevail on the merits.

     C. The Relief that Sampson Seeks Is Narrowly Tailored To Ensure That He Has the
        Same Opportunity as His Classmates To Demonstrate His Knowledge of Medicine

         Stony Brook mischaracterizes the relief sought. Sampson does not seek an indefinite

  period of time to take Step 1. Sampson also seeks preliminary injunction against the National

  Board of Medical Examiners, and if he is granted that preliminary injunction, he will be able to

  take the Step 1 examination with accommodations by a date certain. This Court has set a date for

  a preliminary injunction hearing for October 11, 2022. Sampson v. Nat’l Bd. of Med. Exam’rs,

  No. 2:22-cv-05120, Dkt. 12.

         Stony Brook’s cited cases are distinguishable because the plaintiffs in those cases, unlike

  Sampson, sought an indefinite period of time to take a board examination an unlimited number

  of times. In Lipton v. N.Y. Univ. College of Dentistry, 865 F. Supp. 2d 403 (S.D.N.Y. 2012), for

  instance, the student did not seek additional testing accommodations beyond that already

  provided; rather, the student sought unlimited chances to pass with the testing accommodations

  already in place. Id. at 409-10; see also Doe v. St. Louis Univ. Sch. of Med., Case No.

  4:12CV905SNLJ, 2013 U.S. Dist. LEXIS 44492, at *33-34 (E.D. Mo. Mar. 28, 2013) (student

  sought an “indeterminate amount of time” to retake NBME examination). In contrast to those

  medical students, Sampson merely seeks to take the NBME examination with accommodations

  by a date certain, and for his resulting test score with accommodations to be treated in the same

  manner as that of any other medical student at Stony Brook.




                                                   12
Case 2:22-cv-04490-JMA-AYS Document 16 Filed 09/23/22 Page 13 of 16 PageID #: 378




     D. President McInnis Is a Proper Defendant To Ensure the Availability of Declaratory
        and Injunctive Relief

         Stony Brook also errs in seeking to dismiss President McInnis from the lawsuit. Contrary

  to Stony Brook’s assertion, President McInnis has been sued in her official capacity only. See

  Compl. [Doc. No. 1] ¶ 5 (stating that President McInnis was being sued in her official capacity).

         President McInnis was sued in her official capacity to ensure the availability of

  declaratory and injunctive relief. Sampson does not believe that Stony Brook is entitled to

  sovereign immunity, but in the event that Stony Brook asserts sovereign immunity, Ex parte

  Young permits plaintiffs to seek declaratory and injunctive relief for violations of Title II and

  section 504. See, e.g., Henrietta D. v. Bloomberg, 331 F.3d 261, 289 (2d Cir. 2003).

         When Stony Brook’s counsel approached Sampson’s counsel about dismissing President

  McInnis from the lawsuit, Sampson’s counsel indicated that Sampson would agree to dismiss

  President McInnis provided that Stony Brook did not assert sovereign immunity as a bar to

  declaratory or injunctive relief. Ex. 2, Decl. of Weiner, at ¶¶ 13-14. Stony Brook declined to so

  stipulate. Id. at ¶ 14. Given that Stony Brook has refused to concede the availability of

  declaratory and injunctive relief notwithstanding any possible assertion of sovereign immunity,

  President McInnis is a necessary defendant to ensure the availability of the prospective relief

  sought in this case. See, e.g., Yelapi v. DeSantis, 525 F. Supp. 3d 1371, 1380-81 (N.D. Fla.

  2021) (declining to dismiss a university president at the motion to dismiss stage when defendant

  asserted sovereign immunity).

     E. Sampson Exhausted All Options Prior to Filing This Lawsuit

         Stony Brook devotes a considerable portion of its brief to blaming Sampson for being

  unable to graduate in seven years, when much of this delay was due to Stony Brook’s own

  discriminatory conduct. Stony Brook required Sampson to take the Step 1 examination much

                                                   13
Case 2:22-cv-04490-JMA-AYS Document 16 Filed 09/23/22 Page 14 of 16 PageID #: 379




  earlier than his classmates, and to do so whether or not he had testing accommodations. Stony

  Brook later changed its mind, letting him resume his medical school education after it explicitly

  stated in writing that Sampson could not complete his medical degree within 7 years, proof that

  the three-year leave of absence was wholly unnecessary. When Stony Brook permitted Sampson

  to resume classes, he still had three semesters of medical school before arriving at the point

  where his classmates were required to take Step 1. Consequently, Stony Brook bears

  responsibility for much of this delay, and may not use these three years – years that should not

  count against Sampson - in arguing that Sampson is now out of time.

         Stony Brook erroneously claims that Sampson knew by May 2020 that litigation was

  necessary. This is demonstrably false. During this time, he had again requested testing

  accommodations, and underwent another neuropsychological evaluation. This evaluation was

  not finalized until December 2020, and he thereafter prepared the application for

  accommodations for submission with this new evaluation for the NBME’s consideration. The

  NBME denied his request for accommodations in June 2022, after which time, Sampson’s

  counsel contacted NBME’s counsel to request accommodations short of litigation. NBME,

  through counsel, indicated that it needed additional time to review its denial of accommodations.

  When the promised response was not forthcoming, Sampson’s counsel provided the NBME’s

  counsel with a draft complaint indicating it would file imminently absent response. When no

  response was forthcoming, Sampson’s counsel filed that complaint just days later.

         Stony Brook also faults Sampson for filing suit against Stony Brook before filing

  litigation against the NBME. Albeit of no legal consequence relative to this matter, the sequence

  of the filing of this litigation was made necessary because Stony Brook planned to expel

  Sampson from the program on or before August 12, 2022. Filing suit against Stony Brook first



                                                  14
Case 2:22-cv-04490-JMA-AYS Document 16 Filed 09/23/22 Page 15 of 16 PageID #: 380




  was necessary to preserve his status as an enrolled student while the litigation against NBME

  proceeded, and as described supra, NBME had requested additional time to review its denial of

  Sampson’s most recent request for accommodations.7 Charles Weiner’s letter to Robert

  Burgoyne and Caroline Mew (July 18, 2022) Exhibit 2-A, Email Chain between Weiner and

  Burgoyne (August 4, 2022 and August 26, 2022) Ex. 2-B and 2-C.

         This is a case where, if Stony Brook had not imposed greater requirements on Sampson

  than his classmates and required him to take Step 1 earlier, he would have not needed to take a

  three-year leave of absence. This is also a case in which if the NBME had timely agreed to

  provide the testing accommodations that Stony Brook says he needs, he would have had his fair

  opportunity at the same time as his classmates to take Step 1. Neither Stony Brook nor NBME

  complied with their obligations under federal law, despite Sampson’s repeated requests for

  accommodations. It was only after Sampson exhausted all other avenues that he filed this

  litigation, and Stony Brook does not contest otherwise.

                                              CONCLUSION

         For the reasons described in support of his motion for preliminary injunction, Sampson

  requests that this Court enjoin Stony Brook and require Stony Brook to maintain his status as an

  enrolled student so that he has an opportunity to take the Step 1 examination by a date certain

  with the testing accommodations that Stony Brook admits he needs.




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          Stony Brook errs in relying on Wright v. Nat’l Bd. of Med. Exam’rs, Case No. 21-cv-
  02319-DDD-NYW, 2021 U.S. Dist. LEXIS 211275 (D. Colo. Oct. 15, 2021), appeal dismissed,
  2021 U.S. App. LEXIS 39962 (10th Cir. Nov. 19, 2021), for the proposition that Sampson
  somehow waited too long to seek injunctive relief. Wright merely held that there was no
  urgency in taking the NBME examination by a specific date. Id. at *24-26.

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Case 2:22-cv-04490-JMA-AYS Document 16 Filed 09/23/22 Page 16 of 16 PageID #: 381




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                                    CERTIFICATE OF SERVICE

         On September 23, 2022, the undersigned served a true and correct copy of the foregoing

  on the following counsel of record via the Court’s CM/ECF system:

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                                               16
